                         Case 8-18-74000-las               Doc 1       Filed 06/12/18            Entered 06/12/18 13:50:24



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hampton Dream Properties, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  131 West Main Street                                            PO Box 1403
                                  Riverhead, NY 11901                                             Amagansett, NY 11930
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Suffolk                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                         Case 8-18-74000-las                   Doc 1       Filed 06/12/18            Entered 06/12/18 13:50:24

Debtor    Hampton Dream Properties, LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a                         Eastern District of
     separate list.                              District   New York                      When    10/10/17                    Case number   8-17-76188-las
                                                 District                                 When                                Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                   Relationship
                                                 District                                 When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                      Case 8-18-74000-las                  Doc 1       Filed 06/12/18             Entered 06/12/18 13:50:24

Debtor   Hampton Dream Properties, LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                       Case 8-18-74000-las                 Doc 1        Filed 06/12/18             Entered 06/12/18 13:50:24

Debtor    Hampton Dream Properties, LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 12, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael O'Sullivan                                                   Michael O'Sullivan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Member




18. Signature of attorney    X   /s/ Mark E. Cohen, Esq.                                                   Date June 12, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark E. Cohen, Esq.
                                 Printed name

                                 Mark E. Cohen, Esq.
                                 Firm name

                                 108-18 Queens Boulevard
                                 4th Floor, Suite 3
                                 Forest Hills, NY 11375
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (718) 258-1500 x210           Email address      mecesq2@aol.com

                                  NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                        Case 8-18-74000-las                          Doc 1       Filed 06/12/18             Entered 06/12/18 13:50:24




 Fill in this information to identify the case:

 Debtor name         Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 12, 2018                           X /s/ Michael O'Sullivan
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael O'Sullivan
                                                                       Printed name

                                                                       Sole Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                           Case 8-18-74000-las                                    Doc 1              Filed 06/12/18                         Entered 06/12/18 13:50:24


 Fill in this information to identify the case:

 Debtor name            Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        4,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $               1,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,001,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        3,708,724.42


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,708,724.42




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                        Case 8-18-74000-las                          Doc 1   Filed 06/12/18      Entered 06/12/18 13:50:24


 Fill in this information to identify the case:

 Debtor name          Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     TD Bank                                                 Checking Account                1249                                    $1,000.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $1,000.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18        Entered 06/12/18 13:50:24


 Debtor         Hampton Dream Properties, LLC                                                   Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and            Net book value of      Valuation method used   Current value of
           property                                       extent of             debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest     (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 2 Briar Croft Drive
                     East Hampton, New
                     York 11937                           Fee simple                     Unknown       N/A                               $750,000.00


           55.2.     93 Three Mile Harbor
                     Road
                     East Hampton, New
                     York 11937                           Fee simple                     Unknown       N/A                             $1,000,000.00


           55.3.     24 Wisteria Drive
                     Remsengurg, New
                     York 11960                           Fee simple                     Unknown       N/A                             $1,500,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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                        Case 8-18-74000-las                          Doc 1   Filed 06/12/18      Entered 06/12/18 13:50:24


 Debtor         Hampton Dream Properties, LLC                                                Case number (If known)
                Name

            55.4.    31 North Fairfax
                     Road
                     Montauk, New York
                     11954                                Fee simple                   Unknown         N/A                    $750,000.00




 56.        Total of Part 9.                                                                                             $4,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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                         Case 8-18-74000-las                            Doc 1            Filed 06/12/18                   Entered 06/12/18 13:50:24


 Debtor          Hampton Dream Properties, LLC                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $1,000.00         + 91b.            $4,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,001,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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                          Case 8-18-74000-las                        Doc 1       Filed 06/12/18              Entered 06/12/18 13:50:24


 Fill in this information to identify the case:

 Debtor name          Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Christiana Trust etc.                         Describe debtor's property that is subject to a lien                $925,000.00               $750,000.00
        Creditor's Name                               31 North Fairfax Road
        c/o RAS Boriskin, LLC                         Montauk, New York 11954
        900 Merchants Concourse
        Suite LL-5
        Westbury, NY 11590
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2014
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    U.S. Bank N.A.                                Describe debtor's property that is subject to a lien              $1,300,000.00            $1,500,000.00
        Creditor's Name                               24 Wisteria Drive
        c/o Aldridge Pite, LLP                        Remsengurg, New York 11960
        40 Marcus Drive
        Suite 200
        Melville, NY 11747
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2007


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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                          Case 8-18-74000-las                        Doc 1       Filed 06/12/18              Entered 06/12/18 13:50:24


 Debtor       Hampton Dream Properties, LLC                                                            Case number (if know)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    U.S. Bank, NA                                 Describe debtor's property that is subject to a lien                       Unknown          $750,000.00
        Creditor's Name                               2 Briar Croft Drive
        c/o McCabe Weisberg etc.                      East Hampton, New York 11937
        145 Huguenot Street
        Suite 201
        New Rochelle, NY 10801
        Creditor's mailing address                    Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2014
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.4    U.S. Bank, NA                                 Describe debtor's property that is subject to a lien                 $1,483,724.42        $1,000,000.00
        Creditor's Name                               93 Three Mile Harbor Road
        c/o McCabe Weisberg etc.                      East Hampton, New York 11937
        145 Huguenot Street
        Suite 201
        New Rochelle, NY 10801
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2009
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $3,708,724.4
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         2

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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 Debtor       Hampton Dream Properties, LLC                                                      Case number (if know)
              Name


 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        U.S. Bank, N.A.
        c/o Shapiro DiCaro & Bara                                                                         Line   2.3                                   2014
        175 Mile Crossing Blvd
        Rochester, NY 14624




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
           Date or dates debt was incurred
                                                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                     related creditor (if any) listed?                account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                             0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.    There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                  Page 1 of 1
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                        Case 8-18-74000-las                          Doc 1     Filed 06/12/18            Entered 06/12/18 13:50:24




 Fill in this information to identify the case:

 Debtor name         Hampton Dream Properties, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                            Dates               Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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                        Case 8-18-74000-las                          Doc 1      Filed 06/12/18              Entered 06/12/18 13:50:24

 Debtor      Hampton Dream Properties, LLC                                                                 Case number (if known)



       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                        Case 8-18-74000-las                          Doc 1      Filed 06/12/18           Entered 06/12/18 13:50:24

 Debtor        Hampton Dream Properties, LLC                                                             Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Mark E. Cohen, Esq.
                 108-18 Queens Boulevard
                 4th Floor, Suite 3
                 Forest Hills, NY 11375                              Attorney Fees                                                                      $2,500.00

                 Email or website address
                 mecesq2@aol.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18             Entered 06/12/18 13:50:24

 Debtor      Hampton Dream Properties, LLC                                                              Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18             Entered 06/12/18 13:50:24

 Debtor      Hampton Dream Properties, LLC                                                              Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       name                                                                                                                       Since or about 2013
                    address
                    Long Island City, NY 11101

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18             Entered 06/12/18 13:50:24

 Debtor      Hampton Dream Properties, LLC                                                              Case number (if known)




           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Miichael O'Sullivan                            24 Wisteria Drive                                   Sole member                           100%
                                                      Remsenburg, NY 11960



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18             Entered 06/12/18 13:50:24

 Debtor      Hampton Dream Properties, LLC                                                              Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 12, 2018

 /s/ Michael O'Sullivan                                                 Michael O'Sullivan
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Sole Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 7
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                        Case 8-18-74000-las                          Doc 1    Filed 06/12/18    Entered 06/12/18 13:50:24

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Hampton Dream Properties, LLC                                                                    Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                     2,500.00
              Prior to the filing of this statement I have received                                       $                     2,500.00
              Balance Due                                                                                 $                        0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 12, 2018                                                                /s/ Mark E. Cohen, Esq.
     Date                                                                         Mark E. Cohen, Esq.
                                                                                  Signature of Attorney
                                                                                  Mark E. Cohen, Esq.
                                                                                  108-18 Queens Boulevard
                                                                                  4th Floor, Suite 3
                                                                                  Forest Hills, NY 11375
                                                                                  (718) 258-1500 x210 Fax: (718) 793-1627
                                                                                  mecesq2@aol.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Hampton Dream Properties, LLC                                                                  Case No.
                                                                                    Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       June 12, 2018                                               /s/ Michael O'Sullivan
                                                                         Michael O'Sullivan/Sole Member
                                                                         Signer/Title

 Date: June 12, 2018                                                     /s/ Mark E. Cohen, Esq.
                                                                         Signature of Attorney
                                                                         Mark E. Cohen, Esq.
                                                                         Mark E. Cohen, Esq.
                                                                         108-18 Queens Boulevard
                                                                         4th Floor, Suite 3
                                                                         Forest Hills, NY 11375
                                                                         (718) 258-1500 x210 Fax: (718) 793-1627




USBC-44                                                                                                                         Rev. 9/17/98


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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Hampton Dream Properties, LLC                                                                   Case No.
                                                                                   Debtor(s)                Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hampton Dream Properties, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 June 12, 2018                                                         /s/ Mark E. Cohen, Esq.
 Date                                                                  Mark E. Cohen, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Hampton Dream Properties, LLC
                                                                       Mark E. Cohen, Esq.
                                                                       108-18 Queens Boulevard
                                                                       4th Floor, Suite 3
                                                                       Forest Hills, NY 11375
                                                                       (718) 258-1500 x210 Fax:(718) 793-1627
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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Hampton Dream Properties, LLC                                              CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

 NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

 THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1. CASE NO.: 8-17-76188-las                      JUDGE:                 DISTRICT/DIVISION: Eastern District of New York

CASE STILL PENDING (Y/N):                         N                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                       Prior Filing 10/10/2017

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                    JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                    JUDGE:                   DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                   (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Mark E. Cohen, Esq.
 Mark E. Cohen, Esq.
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 Mark E. Cohen, Esq.
 108-18 Queens Boulevard
 4th Floor, Suite 3
 Forest Hills, NY 11375                                                                     Signature of Pro Se Joint Debtor/Petitioner
 (718) 258-1500 x210 Fax:(718) 793-1627

                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                              Chapter      7
 IN RE:  Hampton Dream Properties, LLC
                                                                                     Case No.:

                                      Debtor(s)                                      STATEMENT PURSUANT TO LOCAL RULE 2017
                  ---------------------------------------------X

I, Mark E. Cohen, Esq., an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):

                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      June 12, 2018                          condition, etc.

                                                                             Preparation and review of
                                      June 12, 2018                          Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                           2,500.00   .

Dated: June 12, 2018
                                                                        /s/ Mark E. Cohen, Esq.
                                                                        Mark E. Cohen, Esq.
                                                                        Attorney for debtor(s)
                                                                        Mark E. Cohen, Esq.
                                                                        108-18 Queens Boulevard
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